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  Case l:15-cv-04479-ILG-RER



                                                                                       IN CLERK'S OFFICE
                                  UNITED STATES DISTRICT COURT                    US DISTRICT COURT E.D.N.Y.
                                  EASTERN DISTRICT OF NEW YORK
                                                                                        OCT 10 2018 *
                                                                                    BROOKLYN OFFICE
   SECURITIES AND EXCHANGE COMMISSION,

                                       Plaintiff,
                                                               C.A.NO. 15-4479 (ILG)
                             V.



   PHILIP THOMAS KUEBER,

                                       Defendant.




            FINAL JUDGMENT AS TO DEFENDANT PHILIP THOMAS KUEBER

          The Securities and Exchange Commission having filed a Complaint and Defendant Philip

   Thomas Kueber ("Defendant'*) havingentered a general appearance; consented to the Court's

   jurisdiction overDefendant and thesubject matter of this action; consented to entry of this Final

   Judgment;waived findings of fact and conclusions of law; and waived any right to appeal from

   this Final Judgment:

                                                    I.


          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is

   permanently restrained and enjoined from violating,directly or indirectly, Section 10(b)of the

   Securities ExchangeAct of 1934(the "Exchange Act") [15 U.S.C. § 78j(b)] and Rule lOb-5

   promulgated thereunder [17 C.F.R. § 240.10b-5], by using any means or instrumentality of

   interstate commerce, or ofthe mails, or of any facility of any national securitiesexchange, in

   connection with the purchase or sale of any security:

          (a)     to employ any device, scheme, or artifice to defraud;
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